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IN THE UNITED sTATES DISTRICT coURT Ftl.ED ar \}Rf~_}_ D.f»
FOR THE WESTERN DISTRICT oF TENNESSEE

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U'NITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20199-Ma

VS.

JUDUNE BROWN,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDA.BLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning duly 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period, from May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

laK day of June, 2005.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Tms document entered on the docket sheet in omp[iance
with Rule 55 and/or 32(b) FRCrP un § "[ gtng

IT IS SO ORDERED thiS

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20199 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

